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 8    Ruby Candler
 9
                        UNITED STATES DISTRICT COURT
10                 IN THE CENTRAL DISTRICT OF CALIFORNIA
11
12    RUBY CANDLER,                             Case No.: 2:21-cv-03589-MWF-AGR
13
14
                   Plaintiff,                   STIPULATION OF DISMISSAL
                                                WITH PREJUDICE
15          v.
16
17
      ATLANTICUS HOLDINGS
18    CORPORATION; and THE BANK
19
      OF MISSOURI,

20                Defendants.
21
22
23          Pursuant to Federal Rule of Civil Procedure 41, Plaintiff Ruby Candler and
24
      Defendants Atlanticus Holdings Corporation and The Bank of Missouri by and
25
26    through undersigned counsel, hereby stipulate that this action and all claims
27
      asserted therein be dismissed with prejudice.
28

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     Case 2:21-cv-03589-MWF-AGR Document 15 Filed 01/26/22 Page 2 of 3 Page ID #:52




 1
                                         RESPECTFULLY SUBMITTED,
 2
 3    DATED: January 26, 2022            By: /s/ Youssef H. Hammoud
                                         Youssef H. Hammoud (SBN: 321934)
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17                                       The Bank of Missouri and
18                                       Atlanticus Holdings Corporation
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     Case 2:21-cv-03589-MWF-AGR Document 15 Filed 01/26/22 Page 3 of 3 Page ID #:53




 1                            SIGNATURE CERTIFICATION
 2          Pursuant to L.R. 5-4.3.4(a)(2), I hereby certify that all other signatories
 3
      listed, on whose behalf this filing is submitted, concur with the contents of this
 4
 5    filing, and have authorized the filing.
 6
 7    DATED: January 26, 2022                          PRICE LAW GROUP, APC
 8
                                                       By: /s/ Youssef H. Hammoud
 9                                                     Youssef H. Hammoud
10                                                     Attorneys for Plaintiff,
                                                       Ruby Candler
11
12
13
14                             CERTIFICATE OF SERVICE
15
            I hereby certify that on January 26, 2022, I electronically filed the foregoing
16
17    with the Clerk of the Court using the ECF system, which will send notice of such
18
      filing to all attorneys of record in this matter. Since none of the attorneys of record
19
20    are non-ECF participants, hard copies of the foregoing have not been provided via
21    personal delivery or by postal mail.
22
            PRICE LAW GROUP, APC
23
            /s/ Roxanne Harris
24
25
26
27
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